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     Attorneys for Plaintiff,
11   LYAN FRANCIS DE SOUZA
12

13                         UNITED STATES DISTRICT COURT
14                      SOUTHERN DISTRICT OF CALIFORNIA
15

16    LYAN FRANCIS DE SOUZA, an              Case No. 3:21-cv-01103-JLS-MSB
      individual,
17
                                             JOINT DISCOVERY PLAN -
18                Plaintiff,                 RULE 26 REPORT
19    vs.
20    DAWSON TECHNICAL, INC., a
      Hawaiian Corporation, and DOES 1-50,
21    inclusive,
22
                  Defendants.
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                         DISCOVERY PLAN - JOINT RULE 26 REPORT
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 1          The parties submit this joint report pursuant to Rules 16 and 26 of the Federal
 2   Rules of Civil Procedure (“FRCP”), Local Civil Rules 26.1, and this Court’s Orders
 3   of January 18, 2023, and February 9, 2023 [Dkt. Nos. 48, 50].
 4   I.     DISCOVERY PLAN
 5          The parties propose the discovery schedule attached as Exhibit A.
 6          The parties do not believe that there should be any changes to the timing,
 7   form, or requirements of initial disclosures under Rule 26(a).
 8          The parties believe that discovery should be permitted on any topic within the
 9   scope of Federal Rule of 26(b)(1).
10          The parties do not believe there should be any limitations on discovery
11   beyond what is in the Federal Rules of Civil Procedure.
12   II.    SETTLEMENT
13          The parties are participating in the court ordered Early Neutral Evaluation on
14   March 20, 2023. The parties have agreed to discuss attending private mediation in
15   the event the case does not resolve at the ENE.
16   III.   LOCAL RULE 16(d)(2)
17          (a)   The parties propose the discovery schedule attached as Exhibit A.
18          (b)   The parties do not believe a further case management conference is
19   necessary at this time.
20          (c)   With the exception of the deadlines set forth in Exhibit A, the parties
21   do not believe the case warrants expert disclosure/discovery procedures in addition
22   to that required by Federal Rule of Civil Procedure 26.
23          (d)   The parties propose the dispositive motion cut-off set forth on Exhibit
24   A.
25          (e)   The parties propose a pretrial hearing as set forth on Exhibit A.
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                                      JOINT RULE 26 REPORT
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 1   IV.   CASE MANAGEMENT ORDER [DKT 48, ¶ 5(B)]
 2              i.     Service: No parties remain to be served.
 3              ii.    Amendment of Pleadings: The parties do not anticipate
 4                     amending any pleadings.
 5              iii.   Protective Order: The parties intend to utilize the Court’s
 6                     Model Protective Order. The parties will submit the proposed
 7                     order on or before March 20, 2023.
 8              iv.    Privilege: The parties agree that claims of privilege must be
 9                     made by use of a privilege log. The parties agree that
10                     communications between the parties and outside counsel do not
11                     need to be logged.
12              v.     Preservation of Evidence: The parties recognize their
13                     respective duties to preserve evidence and do not believe there
14                     are any issues with regard to the preservation of evidence at this
15                     time.
16              vi.    Electronic Discovery: The parties agree to produce electronic
17                     discovery both in its native form as well as in pdf where
18                     reasonably practicable.
19              vii.   Discovery: The parties do not believe any limitations or
20                     modifications to the Rules of Civil Procedure are required with
21                     regard to discovery.
22              viii. Related Cases: The parties are not aware of any pending related
23                     cases.
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                                    JOINT RULE 26 REPORT
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 1    DATED: March 13, 2023         THE KNEAFSEY FIRM
 2

 3
                                    By
 4                                        Sean Kneafsey
 5                                  Attorneys for Plaintiff
                                    LYAN FRANCIS DE SOUZA
 6

 7    DATED: March 13, 2023         JACKSON LEWIS P.C.
 8
                                          /s/ Adrienne L Conrad
 9
                                    By                            __
10                                        Adrienne L. Conrad
                                    Attorneys for Defendant
11                                  DAWSON TECHNICAL, INC.
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                                 JOINT RULE 26 REPORT
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 1                    EXHIBIT A – PROPOSED CASE SCHEDULE
 2

 3               Event             Parties’ Joint Request   Court Order
 4
      Initial Disclosures             March 13, 2023
 5

 6    Last Day to Submit              March 20, 2023
      Proposed Stipulated
 7    Protective Order
 8    Fact Discovery Cutoff          December 7, 2023
 9
      Initial Expert Disclosure     December 14, 2023
10
      Pursuant FRCP 26(a)(2)
11    Rebuttal Expert Disclosure     January 24, 2024
12    Pursuant to FRCP 26(a)(2)
      Last day to file/serve         February 4, 2024
13
      dispositive motions
14    Expert Discovery Cutoff        February 24, 2024
15

16
      Last day for dispositive         April 4, 2024
      motions to be heard
17    Final Pretrial Conference         May 4, 2024
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19    Jury Trial                        June 4, 2024
      (Duration 5-7 days)
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                                   JOINT RULE 26 REPORT
